                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
        Plaintiff,                           )
                                             )
                     v.                      )    Criminal Action No.
                                             )    11-00263-01/02-CR-W-BCW
MARCO ANTONIO VERDUZCO-                      )
MORETT and ERNESTO IBARRA,                   )
                                             )
        Defendants.                          )

                 MEMORANDUM OF MATTERS DISCUSSED AND
                 ACTION TAKEN AT PRETRIAL CONFERENCE

        Pursuant to the order of the Court en banc of the United States District Court for

the Western District of Missouri, a pretrial conference was held in the above-entitled

cause before me on August 6, 2014.      Defendant Verduzco-Morett appeared in person

and with appointed counsel Bill Raymond.         Defendant Ibarra appeared in person and

with appointed counsel Mark Thomason.        The United States of America appeared by

Assistant United States Attorney Patrick Edwards and Alison Dunning.

I.      BACKGROUND

        On October 19, 2011, an indictment was returned charging both defendants with

conspiracy to distribute and possess with the intent to distribute methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846; one count of distribution and

possession with the intent to distribute methamphetamine, in violation of 21 U.S.C.

841(a)(1), (b)(1)(A); Defendant Verduzco-Morett with one count of unlawful entry into

the United States, in violation of 8 U.S.C. § 1326; and Defendant Verduzco Morett with




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one count of being found in the United States at a location not designated by immigration

officials, in violation of 8 U.S.C. § 1325(a)(1).

         The following matters were discussed and action taken during the pretrial

conference:

II.      TRIAL COUNSEL

         Mr. Edwards announced that he and Ms. Dunning will be the trial counsel for the

government.      The case agent to be seated at counsel table is Detective Dan Curby,

Jackson County Drug Task Force.

         Mr. Raymond announced that he will be the trial counsel for Defendant

Verduzco-Morett. Julie Eilers, investigator, will assist.

         Mr. Thomason announced that he will be the trial counsel for Defendant Ibarra.

III.     OUTSTANDING MOTIONS

         There are no pending motions in this case.

IV.      TRIAL WITNESSES

         Mr. Edwards announced that the government intends to call 16 witnesses without

stipulations or 8 witnesses with stipulations during the trial.

         Mr. Raymond announced that Defendant Verduzco-Morett intends to call 1

witness during the trial.   The defendant may testify.

         Mr. Thomason announced that Defendant Ibarra intends to call 1 witness during

the trial.   The defendant may testify.




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V.      TRIAL EXHIBITS

        Mr. Edwards announced that the government will offer approximately 75 exhibits

in evidence during the trial.

        Mr.   Raymond        announced     that       Defendant   Verduzco-Morett   will   offer

approximately 20 exhibits in evidence during the trial.

        Mr. Thomason announced that Defendant Ibarra will offer approximately 1

exhibit in evidence during the trial.

VI.     DEFENSES

        Mr. Raymond announced that Defendant Verduzco-Morett will rely on the

defense of general denial.

        Mr. Thomason announced that Defendant Ibarra will rely on the defense of

general denial.

VII.    POSSIBLE DISPOSITION

        Mr. Raymond stated this case is definitely for trial.

        Mr. Thomason stated this case is definitely for trial.

VIII. STIPULATIONS

        Stipulations are likely as to chain of custody and chemist’s reports may be entered

into depending on results of defense analysis.

IX.     TRIAL TIME

        Counsel were in agreement that this case will take 3 days to try.




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X.      EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

        The U. S. Magistrate Judge ordered:

        That, in addition to the requirements of the Stipulations and Orders filed March 9,
        2012, counsel for each party file and serve a list of exhibits he or she intends to
        offer in evidence at the trial of this case on the form entitled Exhibit Index and
        have all available exhibits premarked using the stickers provided by the Clerk of
        Court by or before August 6, 2014;

        That counsel for each party file and serve requested jury voir dire examination
        questions by or before noon, Wednesday, August 13, 2014;

        That counsel for each party file and serve, in accordance with the requirements of
        Local Rule 51.1, requested jury instructions 1 by or before noon, Wednesday,
        August 13, 2014. Counsel are requested to provide proposed jury instructions in
        both hard copy form, as required by Local Rule 51.1, and by e-mail to the trial
        judge=s courtroom deputy.

XI.     UNUSUAL QUESTIONS OF LAW

        Motions in limine will probably be filed on a photograph of a folder, which will

not be admitted into evidence. There are no unusual questions of law.




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         Counsel in all cases assigned to be tried before Judge Fernando Gaitan, Jr., as
reflected in the trial letter, shall meet and prepare a packet of agreed proposed jury
instructions     to    be     submitted      to Judge    Gaitan   and    e-mailed     to
marylynn_shawver@mow.uscourts.gov and rhonda_enss@mow.uscourts.gov by August
15, 2014. To the extent there are disagreements to certain instructions, each attorney
shall tab and submit his or her preference on those instructions. The instructions shall
be listed in the order they are to be given.


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XII.     TRIAL SETTING

         All counsel and the defendants were informed that this case will be listed for trial

on the joint criminal jury trial docket which commences on August 18, 2014.       Defendant

Verduzco-Morett requests the second week of the docket.

         A Spanish-speaking interpreter is required.




                                                  /s/ Robert E. Larsen
                                               ROBERT E. LARSEN
                                               United States Magistrate Judge

Kansas City, Missouri
August 6, 2014

cc:      Mr. Kevin Lyon




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